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                   UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF IOWA
                          CENTRAL DIVISION



UNITED STATES OF AMERICA,
  Plaintiff,                         Case No. 4:24-cv-00162-SHL-SBJ

   v.

STATE OF IOWA, et al.,
  Defendants.




         DEFENDANTS’ RESISTANCE TO PLAINTIFF’S MOTION

           FOR PRELIMINARY OR PERMANENT INJUNCTION
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                                          INTRODUCTION
    “Imagine a provision—perhaps inserted right after Art. I, § 8, cl. 4, the Naturalization Clause—

which included among the enumerated powers of Congress ‘To establish Limitations upon

Immigration that will be exclusive and that will be enforced only to the extent the President deems

appropriate.’ The delegates to the Grand Convention would have rushed to the exits.” Arizona v. United

States, 567 U.S. 387, 436 (2012) (Scalia, J., concurring in part and dissenting in part). But Plaintiff asks

for that exclusive federal power here.

    Iowa’s new law, SF2340, codifies a criminal analogue to the federal crime of illegal reentry. It does

not create new standards governing alien admissibility or removability nor does it regulate alien

registration. Every act punished is already a federal crime, so it maintains current foreign relations.

And it does not ask Iowa officials to remove illegal aliens from the country—or even from Iowa.

Arguments to the contrary ignore the law’s plain text.

    SF2340 does not offend federal law. The Supreme Court has expressly stated that States retained

sovereign police power related to immigration. So long as States do not use that power to regulate

admissibility or removal standards or alien registration, and so long as the state crime criminalizes

conduct already criminalized federally, the Supreme Court has found no constitutional flaws.

    Plaintiff meanwhile asks the Court to extend implied preemption to new limits and to enjoin

SF2340 in full. But Plaintiff lacks a cause of action to bring this challenge. Particularly given this case—

a pre-enforcement, facial challenge, where Plaintiff must establish it is likely that there is no

constitutional application of the law—the Court should decline the invitation.

                                           BACKGROUND
    According to President Biden, our Nation is in the throes of an unprecedented illegal immigration

“crisis.” The White House, Statement from President Joe Biden on the Bipartisan Senate Border Security

Negotiations (Jan. 26, 2024). Rather than fix the crisis, he has taken a different tack. Illegal border

crossings have hit record highs over the past four years, with up to 250,000 people apprehended at


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the border each month. John Gramlich, Migrant encounters at the U.S.-Mexico border hit a record high at the

end of 2023, Pew Research Center (Feb. 15, 2024). An enormous uptick “from a comparatively paltry

458,000 in 2020.” Texas v. DHS, 2023 WL 8285223, at *3 (W.D. Tex. Nov. 29, 2023). The federal

government is “derelict in enforcing” its “statutory duties.” Id. at *14.

    Organized criminal organizations have noticed. Human trafficking “has become an incredibly

lucrative enterprise for the Mexican drug cartels,” and “the infrastructure built by the cartels for human

cargo can also be used to ship illegal substances, namely fentanyl.” Id. at *3. Indeed, human trafficking

may have surpassed drug trafficking’s profitability. See Todd Bensman, Overrun: How Joe Biden Unleashed

The Greatest Border Crisis In U.S. History 29–32, 193 (2023).

    This illegal immigration crisis has led to Iowans’ lives being “cut short by” illegal aliens “who

disregard[] the rule of law.” Chuck Grassley, As Biden Administration Rolls Back Immigration Enforcement,

Ernst, Grassley, Colleagues Reintroduce ‘Sarah’s Law’ Ahead of the Fifth Anniversary of Sarah Root’s Death (Jan.

28, 2021) available at perma.cc/Y26S-D7K5. On the night of Sarah Root’s college graduation, she was

killed by an illegal alien in a drunk driving accident. Id. Just two years later, “Mollie Tibbetts went for

an evening run . . . in her hometown of Brooklyn, Iowa, and seemingly vanished.” State v. Rivera, 997

N.W.2d 890, *1 (Iowa App. 2023) (table). The reason she vanished: an illegal alien killed her before

dumping her body in a cornfield. Id. at *3. Tibbetts had just finished her first year at the University of

Iowa. Id. at *1. In response, Iowa’s U.S. senators begged the federal government to do its job and

“start enforcing the law” to protect Iowans. See Grassley, supra; Joni Ernst, Ernst Calls on Senate to Pass

Sarah’s Law (Mar. 7, 2024), available at perma.cc/FV2P-6JHG.

    Iowa lies at the crossroads for human trafficking, with Interstates 35 and 80 intersecting creating

“an easy way to arrive and disappear fast in four directions.” Marti Sivi, Iowa View: State is at a crossroads

for sex-trafficking, Des Moines Register, Jan. 6, 2014; Trafficking Education, Wings of Refuge,

perma.cc/ZMD3-HKPW (accessed May 31, 2024); Hannah Rodriguez, Crime ‘hidden in plain sight’:



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Survivor advocates explain human trafficking can be anywhere and what makes I-80 a target, WQAD, Mar. 5,

2020. And human trafficking is on the rise. Conner Hendricks, Human trafficking is on the rise, KCRG,

Jul. 28, 2023. The illegal immigration crisis only adds fuel to this fire.

    The Legislature recognized a need for a solution. Against the federal decision not to enforce

immigration laws, leading to the exploding illegal immigration crisis, the Legislature authorized an

Iowa criminal analogue to federal criminal illegal entry. See SF2340 (to be codified at Iowa Code ch.

718C). That law is set to take effect on July 1.

    SF2340 depends on the federal government making an adverse immigration determination. The

law makes it a crime to enter, attempt to enter, or be found in Iowa after having been “excluded,

deported, or removed,” or having departed the United States “while an order of exclusion,

deportation, or removal is outstanding.” Iowa Code § 718C.2(1). The offense is punishable by up to

two years in prison or a fine of between $855.00 and $8,540.00, or both. Iowa Code §§ 718C.2(2),

903.1(2). After conviction, a judge must issue an order to return, specifying how the illegal alien will

be transported to a port of entry and which state official will monitor compliance. Iowa Code

§ 718C.4. Failure to comply with an order to return amounts to a felony. Id. § 718C.5.

    That tracks federal law. Congress criminalized reentry by aliens who have been “denied

admission,” involuntarily “removed,” or have departed the country “while an order of exclusion,

deportation, or removal is outstanding.” 8 U.S.C. § 1326(a). An alien who illegally reenters “shall” be

imprisoned up to two years, fined up to $250,000, or both. Id.; 18 U.S.C. §§ 3559(a)(5), 3571(b)(3).

Congress has directed immigration officers to “order removed from the United States without further

hearing or review” an alien who lacks a “valid entry document.” Id. §§ 1225(b)(1)(A)(i), 1182(a)(7).

Failure to comply is a felony. Id. §§ 1253(a)(1), 1229a(c)(5); see 18 U.S.C. § 3559(a)(5).

    Under both laws, illegal aliens may agree to voluntary departure, Iowa Code § 718C.4(1)–(3); 8

U.S.C. § 1229c, and may face harsher penalties under certain aggravating circumstances. Iowa Code



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§ 718C.2(2); 8 U.S.C. § 1326(b).

    Under SF2340, a court may not abate a prosecution based on “a federal determination regarding

the immigration status of the person is pending or will be initiated.” Iowa Code § 718C.6. But it allows

abatement based on a final determination of an alien’s lawful federal immigration status.

    Plaintiff asserts a facial challenge to SF2340 on behalf of its enforcement agencies. Dkt. 1 ¶ 5. This

challenge includes two counts. First, it claims SF2340 is preempted by federal laws that govern when

an alien must leave the country. Id. ¶¶ 42–51. Second, it claims SF2340 violates the Dormant Foreign

Commerce Clause’s supposed prohibition of state laws on who can enter the country. Id. ¶¶ 52–56.

                                        LEGAL STANDARD
    “A preliminary injunction is an extraordinary remedy.” Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th

Cir. 2003). When analyzing a preliminary injunction, district courts consider: “(1) the threat of

irreparable harm to the movant; (2) the . . . balance between this harm and the injury that granting the

injunction will inflict on other parties litigant; (3) the probability that movant will succeed on the

merits; and (4) the public interest.” Jet Midwest Int’l Co., v. Jet Midwest Grp., LLC, 953 F.3d 1041, 1044

(8th Cir. 2020). When seeking to enjoin a state statute, movant must meet a more rigorous threshold

requirement: movants must show they are “likely to prevail on the merits.” Planned Parenthood Minn.,

N.D., S.D. v. Rounds, 530 F.3d 724, 730 (8th Cir. 2008). A permanent injunction requires actual success

on the merits. Miller v. Thurston, 967 F.3d 727, 735 (8th Cir. 2020).

    Iowa statutes are presumed severable. Iowa Code § 4.12. And rather than enjoining enforcement

of entire state scheme, courts “reconcile the operations of both [state and federal] statutory schemes

with one another.” Merrill Lynch, Pierce, Fenner & Smith v. Ware, 414 U.S. 117, 127 (1973) (collecting

cases dating back over 100 years supporting this approach). State statutes should be preempted “only

to the extent necessary to protect the achievement of the aims of the [federal law].” Id.




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                                               ARGUMENT
I.        Plaintiff Is Not Likely To Succeed On The Merits.

     A plaintiff must show there is no “circumstance” in which a statute can be constitutionally applied

to win on a facial challenge. Furlow v. Belmar, 52 F.4th 393, 400 (8th Cir. 2022); see United States v. Salerno,

481 U.S. 739, 745 (1987).

     A.      SF2340 does not apply to lawful permanent residents.

     SF2340 does not apply to those lawfully admitted in the United States; it does not provide for

Iowa officials to remove aliens from the country; and if a lawful resident is charged under SF2340, the

alien’s final lawful federal immigration status would mandate abatement of the prosecution.

     Section 2: Iowa Illegal Reentry. Aliens commit the illegal reentry offense if they “enter[], attempt[] to

enter, or [are] at any time found” in Iowa:

          under any of the following circumstances:
          a. The person has been denied admission to or has been excluded, deported, or
          removed from the United States.
          b. The person has departed from the United States while an order of exclusion,
          deportation, or removal is outstanding.

Iowa Code § 718C.2. That section explains which federal immigration statuses, prevailing at the time

the alien enters, attempts to enter, or is found in Iowa, trigger SF2340’s penalties. The controlling

phrase “enters . . . under any of the following circumstances” reveals that the statuses—i.e., “denied

admission,” “excluded,” “deported,” “removed,” or “departed” while order to leave is outstanding—

must be the prevailing condition when the alien is found in Iowa.

     Indeed, the most natural understanding of “under any of the following circumstances” is that the

listed scenarios must be the prevailing condition. The definition of “circumstance” confirms this.

Particularly when used in the phrase “under the circumstance,” it means the “‘condition or state of

affairs’ surrounding and affecting an agent; esp. the external conditions prevailing at the time.”

Circumstance, Oxford English Dictionary (December 2023), doi.org/10.1093/OED/3243407940; see



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Circumstance, Webster’s Second New Int’l Dictionary (1934) (“One of the conditions under which an event

takes place or with respect to which a fact is determined; a condition, fact, or event.”). The relevant

inquiry then is what immigration “condition[] prevail[s] at the time.”

    The statute is not naturally read to cover an alien who was at one point removable without regard

for an intervening event altering her status. An alien who was deported years ago and has since

received permission to reenter with a visa, did not have a “deported” “condition” or “state of affairs”

on reentry. Her prevailing condition at reentry was lawful visa-holder. Indeed, she would describe her

prevailing immigration “condition” or “state of affairs” as lawful or visa-holder. She would not report

her prevailing immigration condition as “deported.”

    SF2340 illegal reentry determinations are thus made based on federal immigration statuses like

“excluded” or “deported.” Under federal law, aliens who have received federal government consent

to reenter the country have not reentered illegally, nor are they “excluded” or “deported.” See 8 U.S.C.

§ 1326(a)(2). Contrary arguments, see No. 4:24-cv-00161, Dkt. 35 at 2 & n.1, depend on a reading of

federal law that is contrary to how the federal government and Iowa applies laws.

    Removal requires an alien’s departure from the country and—particularly important here—bars

reentry. See 8 U.S.C. §§ 1229a(c)(5), (e)(2), 1231, 1182(a)(9). Federal consent removes the reentry bar

and allows readmission. See, e.g., id. §§ 1182(a)(9)(A)(iii), (C)(ii) (waiver of inadmissibility based on

removal); § 1182(a)(9)(C)(iii) (Violence Against Women Act waiver); 8 C.F.R. § 245.23 (waiver for

human trafficking victims); see MMJ Pls.’ Br. at 3–4, 12. In other words, consent nullifies the reentry

bar, regardless of whether it is characterized as waiving prior removal or as “allow[ing] for return

notwithstanding the grounds for inadmissibility.” No. 4:24-cv-00161, Dkt. 35 at 2 n.1.

    Other sections reenforce that approach. Under immigration statutes, “admission” means the

lawful entry of an alien into the United States.” 8 U.S.C. § 1101(a)(13). That means the Attorney

General’s “consent[] to the alien’s admission,” id. § 1182(a)(9), is consent to reapply for “lawful entry.”



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Put another way, consent gives an alien the ability to seek permission to reenter lawfully—not subject

to federal laws prohibiting illegal reentry or SF2340.

    So where prior exclusion, deportation, or removal been waived, there is no prevailing reentry bar

to trigger SF2340. A once-deported, now-legal permanent resident did not reenter under any of the

prohibited prevailing conditions. See Iowa Code § 718C.2. Rather, she was deported then reentered

under a waiver of prior inadmissibility and federal permission. The intervening event matters.

    Not only is that the plain meaning, but any interpretation allowing Iowa to prosecute persons

lawfully in the United States would regulate admission and removal standards—the sole province of

the federal government. Yet Plaintiff argues for just such a reading. See Dkt. 7-1 at 17–18.

    Even if Plaintiff’s interpretation were plausible, it is not correct. Standard canons of construction

instruct courts faced with multiple plausible readings to interpret a statute to avoid constitutional

claims, see Jennings v. Rodriguez, 583 U.S. 281, 296 (2018); State v. Abrahamson, 696 N.W.2d 589, 593

(Iowa 2005), and to apply a presumption against preemption, Rice v. Santa Fe Elevator Corp., 331 U.S.

218, 230 (1947); Huck v. Wyeth, Inc., 850 N.W.2d 353, 363 (Iowa 2014) (Iowa courts favor narrow

construction to avoid preemption); Magellan Health Servs., Inc. v. Highmark Life Ins., 755 N.W.2d 506,

513 (Iowa 2008). So even if this Court considers Plaintiff’s interpretation plausible, it should avoid the

constitutional claim, presume no preemption, and apply the State’s interpretation.

    Section 4: Order to Return. An Order to Return under SF2340 must specify how the illegal alien will

be transported to a port of entry and which state official will monitor compliance. Iowa Code § 718C.4.

The order does not state that the illegal alien will be taken beyond the port of entry. Once the person

arrives at the port of entry, removal is a question for federal immigration officers.

    SF2340 does not provide for Iowa officials’ removal of a convicted illegal alien from Iowa or the

United States. It does not give state officials authority to enforce the Order to Return, and it requires

only that the official report the order’s issuance to the Department of Public Safety. Iowa Code



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§§ 718C.4(5)–(7). The law also allows charges to be dismissed if the person agrees to leave the State

voluntarily and does not authorize state officials to effect that removal. Iowa Code § 718C.4.

    The confusion as to “how Iowa intends to accomplish removal,” Dkt. 7-1 at 8 n.2, illustrates this

logical error. Iowa does not intend to “accomplish” removal. There are no direct international flights

from any Iowa port of entry. See 19 C.F.R. § 101.3 (designating Des Moines International Airport and

Quad Cities International Airport as ports of entry).

    SF2340’s legislative analysis confirms that the law does not provide for State-facilitated removal.

A May 2024 fiscal report examined the law’s potential prison, probation, parole, and other correctional

costs. See Legislative Servs. Agency, Fiscal Servs. Div., Fiscal Note: SF2340, at 2 (May 8, 2024) available

at perma.cc/ZFT2-XNFP. It also considered “the cost to transport an individual to a port of entry.”

Id. It did not analyze the cost to transport an alien beyond the port of entry. Id. There was no need to

analyze removal costs because the law removes no one—it at most authorizes authorities to hand

illegal aliens over to federal immigration officers at one of Iowa’s ports of entry.

    Section 6: Abatement. Section 6 states: “A court may not abate the prosecution . . . on the basis that

a federal determination regarding the immigration status of the person is pending or will be initiated.”

Iowa Code § 718C.6. It is limited to pending or not-yet initiated determinations. It does not apply to

final determinations. See Kucera v. Baldazo, 745 N.W.2d 481, 487 (Iowa 2008) (“When interpreting laws,

we are guided by the rule of ‘expressio unius est exclusio alterious.’”).

    Abatement’s meaning also gives wider effect to Section 6. “Abatement” means “[t]he suspension

or defeat of a pending action for a reason unrelated to the merits of the claim.” Abatement, Black’s Law

Dictionary (11th ed. 2019). The term “abatement” is distinguishable from a “stay.” 1 Am. Jur. 2d

Abatement, Survival, and Revival, § 3 (1994). When “grounds for abatement of an action exist, the

abatement of the action is a matter of right,” whereas a stay is discretionary. Id. So “in proper

circumstances a court may stay a proceeding pending the outcome of another proceeding”—such as



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a pending federal immigration determination—and may do so even though “a strict plea in abatement

could not be sustained.” See id.

    Put differently, Section 6 is inapplicable to aliens with final lawful status. If charges are filed,

nothing prevents a legal alien from asserting her final federal immigration status, and such final federal

determinations would require abatement. See Weissenberger v. Iowa Dist. Court of Warren Cty., 740 N.W.2d

431, 436 (Iowa 2007) (“[L]aws of the United States are just as much binding” on State courts “as State

laws are.” (quotation omitted)); see also Iowa Code § 4.4(1) (“[I]t is presumed that [c]ompliance” with

Iowa and federal Constitutions “is intended”); Iowa Code § 4.4(3).

    In sum, Iowa law shows that a final federal determination of lawful status mandates abatement.

But if an illegal alien charged under SF2340 has or will have a pending asylum case, then circumstances

may warrant a discretionary stay. Even if the alien does not get a stay, and is convicted or agrees to

voluntary departure, the Order to Return identifies only how she would be brought to one of Iowa’s

ports of entry. See Iowa Code § 718C.4. No Iowa official could remove her. Once at the port of entry,

Iowa officers’ obligation ceases and federal officers would make the ultimate removal determination;

that necessarily includes assessing relevant legal defenses.

    B.      Plaintiff’s claims are nonjusticiable.

            1.      Plaintiff has no cause of action.

    “Federal courts are courts of limited jurisdiction possessing only that power authorized by

Constitution and statute.” Gunn v. Minton, 568 U.S. 251, 256 (2013) (quotation marks omitted). Plaintiff

implies the Constitution authorizes its suit yet does not answer “the question [of] whether Congress

has done so.” Id. at 256–257. But “the separation of powers generally vests the power to create new

causes of action in Congress, not [the courts].” Ahmed v. Weyker, 984 F.3d 564, 567 (8th Cir. 2020).

    Plaintiff claims an equitable right to relief. But an equitable right must “come[] within some

traditional head of equitable jurisdiction….[T]o invoke equitable jurisdiction, a plaintiff is required to



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show that his grievance is the kind of grievance that equity has traditionally remedied.” United States v.

Texas¸ 97 F.4th 268, 307 n.3 (5th Cir. 2024) (Oldham, J., dissenting) (quotation marks omitted). Any

claim for equity must be “grounded in traditional equity practice.” Whole Woman’s Health v. Jackson, 595

U.S. 30, 39 (2021).

    Here, the United States fails to identify a statutory authority or traditional equity principle

permitting its claims. Instead, it relies on the Supremacy Clause, U.S. Const. art. VI, cl. 2. But that

Clause confers no federal rights; it is a rule of decision. See Armstrong v. Exceptional Child Ctr., Inc., 575

U.S. 320, 324 (2015). It “certainly does not create a cause of action.” Id. at 325. “It instructs courts

what to do when state and federal law clash, but is silent regarding who may enforce federal laws in

court, and in what circumstances they may do so.” Id. The Supremacy Clause thus does not “give

affected parties a constitutional (and hence congressionally unalterable) right to enforce federal laws

against the States.” Id. Congress and the President enact causes of action via legislation. Plaintiff’s

claim implies that the Supremacy Clause creates that cause of action. But it does not.

    Plaintiff also makes a Commerce Clause claim, U.S. Const. art. I, § 8. But that fails too. The

Commerce Clause is a source of power for Congress and the Supremacy Clause is a rule of decision,

neither confers rights without a cause of action.

    In reply, perhaps the United States will raise In re Debs, where the Court upheld enjoining a strike

because the United States had a property interest in the mail despite a lack of pecuniary interest. 158

U.S. 564, 583, 586 (1895). But Debs relied on an underlying finding that the United States’s claim there

was grounded in traditional equity or to abate a public nuisance. Commerce and “Supremacy Clause

violations do not implicate the federal government’s property interests, nor do they constitute public

nuisances.” Texas¸ 97 F.4th at 309 (Oldham, J., dissenting).

    Lastly, cases where this issue went unaddressed do not set precedent here. “[D]rive-by

jurisdictional rulings . . . have no precedential effect.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,



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91 (1998). Lacking a cause of action—statutory, equitable, or otherwise—Plaintiff cannot sue.

            2.       Plaintiff lacks standing to challenge Section 4.

    A favorable decision will not redress Plaintiff’s alleged harm from Section 4. Section 4 authorizes

judges to issue return orders. But Plaintiff seeks to enjoin Defendants’ Section 4 enforcement. So if

this Court enjoins only Section 4, then non-party judges could still issue orders to return because the

injunction runs against Defendants only. See Digit. Recognition Network, Inc. v. Hutchinson, 803 F.3d 952,

958 (8th Cir. 2015) (“A district court has no authority to enjoin the statute; an injunction would run

only against the defendants in the case.”). Plaintiff lacks standing to pursue its Section 4 challenge.

    C.      Federal immigration law does not preempt SF2340.

    “Federalism, central to the constitutional design, adopts the principle that both the National and

State Governments have elements of sovereignty the other is bound to respect.” Arizona v. United

States, 567 U.S. 387, 398 (2012) (citing Gregory v. Ashcroft, 501 U.S. 452, 457 (1991)). Under federalism,

“the states are sovereign, save only as Congress may constitutionally subtract from their authority.”

Parker v. Brown, 317 U.S. 341, 351 (1943). And under the Supremacy Clause, “the Laws of the United

States” take priority over conflicting state law. U.S. Const., art. VI, cl. 2.

    Preemption is powerful and must be narrowly construed. See Arizona, 567 U.S. at 398–401. Courts

scrutinize implied preemption claims because “an unexpressed purpose to nullify a State’s control over

its officers and agents is not lightly to be attributed to Congress.” Parker, 317 U.S. at 351. Implied

preemption “start[s] with the assumption that the historic police powers of the States were not to be

superseded . . . unless that was the clear and manifest purpose of Congress.” Rice, 331 U.S. at 230.

“Invoking some brooding federal interest or appealing to a judicial policy preference should never be

enough to win preemption of a state law.” Va. Uranium, Inc. v. Warren, 587 U.S. 761, 767 (2019).

Indeed, federal enforcement priorities do not preempt state law: “The Supremacy Clause gives priority

to ‘the Laws of the United States,’ not the criminal law enforcement priorities or preferences of federal



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officers.” Kansas v. Garcia, 589 U.S. 191, 212 (2020).

    Plaintiff raises two implied preemption arguments. Both fall short.

            1.       SF2340 does not regulate in any field occupied by federal law.

    Field preemption “is itself suspect, at least as applied in the absence of a congressional command

that particular field be preempted.” Camps Newfound/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564,

616–617 (1997) (Thomas, J., dissenting). Plaintiff points to no such command here. Only “[i]n rare

cases” have courts found that Congress has “‘legislated so comprehensively’ in a particular field that

it ‘left no room for supplementary legislation.’” Kansas, 589 U.S. at 208. The first step in field-

preemption analysis is to define the “field.” Id. “Every Act of Congress occupies some field, but we

must know the boundaries of that field before we can say that it has precluded a state from the exercise

of any power reserved to it by the Constitution.” Keller v. City of Fremont, 719 F.3d 931, 942 (8th Cir.

2013) (quoting DeCanas v. Bica, 424 U.S. 351, 360 n.8 (1976) superseded by statute on other grounds as

recognized by Kansas, 589 U.S. at 195).

    Courts take care to narrowly define the preempted field. Id. at 943. Immigration law in toto is not

preempted. See DeCanas, 424 U.S. at 354–356. The scope of a given field is narrower, as shown by the

Supreme Court’s section-by-section analysis in Arizona. What’s more, the federal government has

important interests and statutory authority in many areas—yet state law is not preempted there. See,

e.g., Wyeth v. Levine, 555 U.S. 555, 573–581 (2009) (drug safety and enforcement); California v. ARC Am.

Corp., 490 U.S. 93, 101–102 (1989) (antitrust). More is required to define a field’s scope.

    1. Iowa agrees that the federal government has broad power to regulate immigration. The federal

government alone naturalizes and admits aliens. Chy Lung v. Freeman, 92 U.S. 275, 280 (1876); Truax v.

Raich, 239 U.S. 33, 42 (1915) (defining the federal government’s “authority to control immigration” as

the power “to admit and exclude aliens”); Takahashi v. Fish & Game Comm’n, 334 U.S. 410, 419–421

(1948) (noting federal power over admission, length of stay, and naturalization but recognizing state



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authority outside these areas “[i]n the absence of overriding federal treaties”).

    But the Supreme Court “has never held that every state enactment which in any way deals with

aliens” is “pre-empted by this constitutional power, whether latent or exercised.” DeCanas, 424 U.S.

at 355. The Court has not extended field preemption to immigration laws beyond alien registration.

See, e.g., Kansas, 589 U.S. at 210 (rejecting overbroad immigration field preemption); Arizona, 567 U.S.

at 401, 403–413 (federal government “has occupied the field of alien registration” but analyzing other

sections using obstacle preemption). That is true even though some courts have suggested field

preemption extends to employment-authorization and immigration document fraud. See Arizona v.

Arpaio, 76 F. Supp. 3d 833, 842 (D. Ariz. 2015), rev’d in part and vacated in part, 821 F.3d 1098 (9th Cir.

2016); see also United States v. South Carolina, 720 F.3d 518 (4th Cir. 2013). SF2340 does not affect these

areas. Considering the Supreme Court’s increasing skepticism of implied field preemption, this Court

should decline to do so, particularly in a pre-enforcement, facial challenge.

    Even Supreme Court rulings based on constitutional authority have not found exclusivity beyond

the creation of admission, naturalization, and removal standards. See, e.g., Chy Lung, 92 U.S. at 280;

Truax, 239 U.S. at 42; Takahashi, 334 U.S. at 419–421. SF2340 affects no such standards.

    Instead, SF2340 is an exercise of Iowa’s inherent police power to enforce federal admissibility

standards within its borders. Federal law does not supersede States’ police powers unless preemption

was Congress’ clear and manifest purpose. Wyeth, 555 U.S. at 565. And the States’ “power to exclude

has long been recognized as inherent in sovereignty,” Arizona, 567 U.S. at 418, (Scalia, J., concurring

in part and dissenting in part) (collecting historical authorities), including by the Supreme Court, see

Mayor, Alderman and Commonalty of City of New York v. Miln, 36 U.S. (11 Pet.) 102, 130–132 (1837).

    The federal government’s exclusive authority to naturalize and admit does not necessarily displace

the States’ police power to exclude aliens in violation of federal standards. See Chamber of Comm. v.

Whiting, 563 U.S. 582, 588, 600 (2011) (federal interest in immigration does not supersede States’



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“broad authority under their police powers” to enact immigration-related laws); Plyler v. Doe, 457 U.S.

202, 225 (1982) (“[T]he States do have some authority to act with respect to illegal aliens, at least where

such action mirrors federal objectives and furthers a legitimate state goal”). “The central concern of

the INA is with the terms and conditions of admission to the country and the subsequent treatment

of aliens lawfully in the country.” DeCanas, 424 U.S. at 359 (emphasis added). Once an alien violates

federal admissibility standards, States have power to prosecute the violation.

    2. SF2340 does not regulate admissibility standards, nor does it apply to those lawfully in the

country. Rather, it allows the State to prosecute an alien who enters, attempts to enter, or is found in

the State after illegally reentering the country while subject to a reentry bar. See Iowa Code § 718C.2(1).

Illegal reentry is thus not synonymous with admission. See Cordova-Soto v. Holder, 659 F.3d 1029, 1034

(10th Cir. 2011) (citing 8 U.S.C. §§ 1231(a)(5), 1326(a)).

    SF2340 does not apply unless the federal government determined an alien should not be admitted,

and then the alien illegally reentered. Iowa Code § 718C.2(3). Further, Iowa officials do not make

independent admissibility determinations. See id. Just as before SF2340, Iowa officials may obtain

verification of a person’s immigration status from federal officials. 8 U.S.C. § 1373(c).

    SF2340 permits abating an SF2340 prosecution if federal immigration authorities have made a

final determination that a person lawfully entered the country. See Iowa Code § 718C.6. So SF2340

simply makes it a state crime to enter Iowa after committing a federal immigration crime.

    3. SF2340 also does not set removal standards. Section 4 provides for a judicial order detailing

how an illegal alien will be taken to an Iowa port of entry, at which point the case is passed on to

federal immigration officers. Removal is a question for those officers. Nothing in SF2340 gives Iowa

authority to remove a person from Iowa’s port of entry, much less the country.

    SF2340 does not “establish a brand new immigration system” with entry and removal. Dkt. 9-1 at

7. It operates in fields open for complementary state regulation, and, as explained below, is limited to



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conduct proscribed under federal criminal law. Plaintiff’s resort to field preemption fails.

    But if this Court decides that Section 4 improperly enters a supposedly preempted field, then only

Section 4 should be enjoined. See Iowa Code § 4.12; Merrill Lynch, 414 U.S. at 127.

    4. Even if the Court were to define the field more broadly, the federal government must occupy

that field to claim preemptive effect. Cf. Parker, 317 U.S. at 358. But Plaintiff has ignored its statutory

obligations. Its inaction is “akin to posting a flashing ‘Come In, We’re Open’ sign on the southern

border.” Florida v. United States, 660 F. Supp. 3d 1239, 1253 (N.D. Fla. 2023); Texas v. Biden, 20 F.4th

928, 982 (5th Cir. 2021), rev’d, 597 U.S. 785 (2022). The federal government should not be permitted

to invoke field preemption based on laws it declines to enforce. Cf. Arizona, 567 U.S. at 397 (premising

the Court’s decision on federal efforts to carry out federal immigration obligations).

    After all, even if a state law would normally be field preempted, such conclusion “does not affect

the right of States to enforce their [field preempted] laws at times when the Federal Government has

not occupied the field and is not protecting the entire country” from the conduct the federal law

should, if applied, protect against. Pennsylvania v. Nelson, 350 U.S. 497, 500 (1956).

            2.      SF2340 aligns with the federal immigration scheme.

    Obstacle preemption is constitutionally unsound. The doctrine “rests on judicial guesswork about

‘broad federal policy objectives, legislative history, or generalized notions of congressional purposes

that are not contained within the text of federal law.’” Kansas, 589 U.S. at 213–215 (Thomas, J.,

concurring). Federal law may preempt state law only when the two stand in contradiction. Pointing to

the Executive Branch’s immigration policies should not preempt a duly enacted state law. The

Executive’s non-enforcement priorities do not amount to “Laws of the United States.” Indeed,

“[t]here is no federal preemption in vacuo, without a constitutional text, federal statute, or treaty made

under the authority of the United States.” Kansas, 589 U.S. at 202 (quotation omitted). Unable to point

to a federal law that contradicts SF2340, Plaintiff should not be allowed to resort to the “purposes



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and objectives” guesswork that obstacle preemption requires.

    Even so, obstacle preemption does not preempt SF2340. Federal law seldom bars States from

adopting federal law for state purposes. See, e.g., Gilbert v. Minnesota, 254 U.S. 325, 330–331 (1920).

“[T]here are now many instances in which a prosecution for a particular course of conduct could be

brought by either federal or state prosecutors.” Kansas, 589 U.S. at 212. “[I]n the vast majority of cases

where federal and state laws overlap, allowing the States to prosecute is entirely consistent with federal

interests.” Id. Overlap does not mean invalidity. California v. Zook, 336 U.S. 725, 733 (1949).

    The Supreme Court has never held that state laws cannot overlap with federal criminal

immigration statutes, outside alien registration. For example, while Arizona rejected state criminal

penalties, it did so based on context. See Arizona, 567 U.S. at 400–410. That Court considered four

separate state provisions and struck down only one on field preemption grounds (because it touched

on alien registration), id. at 402–403. Arizona recognized that where the State is not operating in an

occupied field, “a State may make violation of federal law a crime.” Id. at 402 (emphasis added).

    Arizona enjoined two other provisions on obstacle preemption grounds. But the reasons are key:

they were obstacle preempted for criminalizing conduct that was not a federal crime, and thus

frustrated the federal scheme to treat those violations with civil penalties. Id. at 405, 407. One section

criminalized “removability,” which is a civil—rather than a criminal—status. Id. at 407 (“As a general

rule, it is not a crime for a removable alien to remain present in the United States”) (citations omitted).

Indeed, after an alien is admitted and becomes removable, federal law gives the federal government

discretion to facilitate that removal. Id. at 410. In contrast, Congress criminalized illegal reentry with

mandatory language. 8 U.S.C. § 1326 (person in violation of illegal reentry law “shall” be punished).

Unlike the obstacle-preempted provisions in Arizona, SF2340 Iowa’s law neither goes further than

federal law nor does it make criminal something that is not also federally criminal.

    SF2340 is more like the law in Kansas, where the Supreme Court upheld an identity-theft statute



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criminalizing the use of a false identity for work authorization. 589 U.S. at 195. The Court

distinguished Arizona based on the federal criminal analogue and stated, “[t]he mere fact that state

laws like the Kansas provision at issue overlap to some degree with federal criminal provisions does

not even begin to make the case for conflict preemption.” Id. at 211. “From the beginning of our

country, criminal law enforcement has been primarily a responsibility of the States, and that remains

true today.” Id. at 212. Given the expanding reach of federal criminal law, “there are now many

instances in which a prosecution for a particular course of conduct could be brought by either federal

or State prosecutors.” Id. “Our federal system would be turned upside down if we were to hold that

federal criminal law preempts state law whenever they overlap,” and there is no basis for inferring

such preemption. Id. Rather, “in the vast majority of cases where federal and state laws overlap,

allowing States to prosecute is entirely consistent with federal interests.” Id. So too here.

    Plaintiff nonetheless contends that SF2340 will disrupt the federal immigration scheme. See Dkt.

7-1 at 15–16. But under SF2340, federal officials retain their discretion to offer asylum or other

removal relief at U.S. ports of entry. And the federal government keeps exclusive authority to set the

destination for removed aliens because Iowa removes no one. In any event, Plaintiff’s argument targets

Section 4 and, if correct, warrants enjoining only that section.

    Ultimately, SF2340 makes it a crime to violate federal criminal immigration law in Iowa. Congress

made it a crime for an alien to reenter the country after having been “denied admission,” been

involuntarily “removed,” or having departed the country “while an order of exclusion, deportation, or

removal is outstanding.” 8 U.S.C. § 1326(a). SF2340 creates an analogue. Iowa Code § 718C.2(1). Both

laws provide similar criminal penalties and allow for voluntary departure.

    There is no conflict with federal law. Further, because SF2340 merely creates a state analogue to

federal criminal reentry statutes, there also is no conflict with current U.S.-foreign relations. Federal

law already criminalizes illegal reentry, and removal authority remains with the federal government, so



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SF2340 creates no new implications for foreign relations.

    2. Plaintiff argues that SF2340 allows the State to overstep the bounds of state cooperation with

immigration enforcement. This is incorrect. Many parts of the federal immigration code call for State-

federal cooperation in federal enforcement. See, e.g., 8 U.S.C. §§ 1101(a)(15)(T)(i)(III)(aa),

1101(a)(15)(U)(iii), 1324(c), 1357(g)(1)–(10); 18 U.S.C. § 758; 22 U.S.C. § 7105(c)(3)(C)(i). The “federal

scheme” thus “leaves room” for enforcement of a state law like SF2340. Arizona, 567 U.S. at 412–413

(citing Whiting, 563 U.S. at 609–610).

    SF2340 authorizes state law enforcement to do what it already could. SF2340 enforcement begins

with contacting federal government to determine a person’s immigration status, because Iowa does

not maintain an independent immigration database. Federal law expressly permits State or local

government entities to make these inquiries. 8 U.S.C. §§ 1373(a), 1644. Federal law even requires the

federal government to respond. See id. § 1373(c); cf. Whiting, 563 U.S. at 582 (rejecting preemption

challenge and finding federal law either permitted or encouraged use of federal work authorization

database to impose licensing sanctions for hiring illegal aliens).

    If the inquiry reveals a person in Iowa is violating federal criminal immigration law and state law,

then SF2340 permits an order requiring that person to go to a port of entry. Federal law expressly

permits state officials to “‘communicate with the [Federal Government] regarding the immigration

status of any individual, including reporting knowledge that a particular alien is not lawfully present in

the United States.’” Arizona, 567 U.S. at 411–412 (quoting 8 U.S.C. § 1357(g)(10)(A)).

    The federal government argues communication and cooperation are permitted only in “limited

circumstances.” Dkt. 7-1 at 16 (quoting Arizona, 567 U.S. at 408, 409). Not so. “Congress has made

clear that no formal agreement or special training needs to be in place” for state officers to

communicate with the federal government about immigration status. Arizona, 567 U.S. at 411–412.

“More broadly, no agreement is necessary in order for a State or local officer ‘otherwise to



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cooperate . . . in the identification, apprehension, detention, or removal of aliens not lawfully present

in the United States.’” Michael John Garcia & Kate M. Manuel, Cong. Research Serv., R41423,

Authority of State and Local Police to Enforce Federal Immigration Law 5 (2012) (quoting 8 U.S.C.

§ 1357(g)(10)). To be sure, the Court in Arizona held that § 1357(g)(10) did not permit state officials

to arrest individuals based on their civil removal status, but that holding did not extend to individuals

violating federal criminal immigration provisions. Arizona, 567 U.S. at 410.

    3. Finally, the federal government and amicus American Immigration Lawyers Association argue

SF2340 conflicts with federal law because it criminalizes legal immigration statuses. Dkt. 7-1 at 15–

16; see also 4:24-cv-00161, Dkt. 31. It does not. Plaintiff’s argument focuses on stylized scenarios that

fail to show why SF2340 is unconstitutional in every—or even most—circumstances. Plaintiff’s

arguments also disregard prosecutorial and judicial discretion in the enforcement of SF2340.

    SF2340 does not apply to aliens who are legally admitted to the United States. And it does not

prevent an alien from seeking asylum, or any other relief from federal authorities. As explained above,

orders issued under SF2340 merely specify how the alien will be transported to a port of entry. See

Iowa Code § 718C.4. Once the alien arrives, federal officers make the ultimate removal determination;

that determination necessarily includes the assessment of any relevant legal defenses.

    Plaintiff’s argument also overstates Section 6’s scope. Dkt. 7-1 at 22. Section 6 prevents no one

from “participat[ing] fully in federal immigration procedures.” Dkt. 7-1 at 22. Under its express terms,

Section 6 limits abatement to federal immigration determinations that are pending or yet to be

initiated. See Iowa Code § 718C.6. It does not apply to final federal immigration determinations. See

Kucera, 745 N.W.2d at 487. Indeed, abatement is required when the alien has lawful status. See

Weissenberger, 740 N.W.2d at 436 (explaining States must comply with federal law).

    Though Section 6 prohibits abatement for pending or will-be initiated federal immigration

determinations, it does not prohibit discretionary stays. Of course, if a case is stayed for an asylum



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proceeding, the prosecution would then abate in the event of a final grant of asylum.

    4. Plaintiff’s arguments illustrate the problems in pre-enforcement, facial challenges: a pre-

enforcement challenge is improper where there is a plausible constitutional reading and uncertainty as

to how state courts will interpret the law. This is true for at least four fundamental reasons.

    First, and most basically, Iowa courts interpreting Iowa law know that “[i]f the law is reasonably

open to two constructions . . . the court must adopt the interpretation that upholds the law’s

constitutionality.” Abrahamson, 696 N.W.2d at 593.

    Second “[t]here is basic uncertainty about what the law means and how it will be enforced.” Arizona,

567 U.S. at 415. It would be improper to enjoin SF2340 “before the state courts had an opportunity

to construe it and without some showing that enforcement of the provision in fact conflicts with

federal immigration law and its objectives.” Id. at 416. “The fact that [a law] might operate

unconstitutionally under some conceivable set of circumstances is insufficient to render it wholly

invalid.” Id. at 425 (Scalia, J., concurring in part and dissenting in part) (quoting Salerno, 481 U.S. at

745).

    Third, several federal courts of appeals—including the Eighth Circuit—analyzing whether federal

law preempted a state law touching upon immigration issues, took the same cautious approach as did

the Supreme Court in Arizona. See, e.g., Keller, 719 F.3d at 945 (uncertainty as to how a law will be

interpret and applied “illustrate[s] why facial challenges are disfavored and, accordingly, why Plaintiffs’

facial challenge must fail.”); Georgia Latino All. For Hum. Rts. v. Governor of Georgia, 691 F.3d 1250, 1267–

68 (11th Cir. 2012); United States v. Alabama, 691 F.3d 1269, 1284 (11th Cir. 2012).

    Fourth, Plaintiff may invent scenarios where SF2340 might be applied in tension with federal law,

but that cannot show Plaintiff is “likely to prevail on the merits.” Rounds, 530 F.3d at 730. To succeed,

there must be no circumstance where the statute can be constitutionally applied. Furlow, 52 F.4th at

400. Plaintiff’s hypotheticals do not make that showing. After all, courts “must be careful not to go



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beyond the statute’s facial requirements and speculate about ‘hypothetical’ or ‘imaginary’ cases.” Wash.

State Grange v. Wash. State Rep. Party, 552 U.S. 442, 449–450 (2008).

    Finally, if this Court decides Section 4 creates an “obstacle” to the federal immigration scheme,

then only that provision should be enjoined. See Iowa Code § 4.12; Merrill Lynch, 414 U.S. at 127.

    D.      The Foreign Commerce Clause does not bar criminalizing conduct entirely
            unrelated to foreign commerce.
            1.       The Supreme Court has expressly recognized States retain their police power to punish federally
                     illegal immigration.
    As a sovereign, Iowa holds the power to exclude unlawfully present persons from its territory,

subject to limitations expressed in the Constitution and Laws of the United States. That power

predated the Constitution, and nothing in the Constitution removed that enforcement authority from

the States. Arizona, 567 U.S. at 418 (Scalia, J., concurring in part and dissenting in part) (detailing

history of this power within State sovereignty). The power to set the standards for naturalization and

alien admissibility “was given to Congress not to abrogate States’ power to exclude those they did not

want, but to vindicate it.” Id.

    The Supreme Court confirmed that principle in Miln, 36 U.S. (11 Pet.) at 130–132. Miln upheld a

state immigration statute requiring each immigrant arriving at the port of New York to be listed in a

report; the master of the ship would be fined for each unreported immigrant brought into port. Id.

The Court upheld the statute because “[t]he sovereign may forbid the entrance of” foreigners into its

land, and “prevent New York from being burdened by an influx of persons brought thither in ships,

either from foreign countries, or from any other of the states.” Id. at 132–133.

    The law challenged in Miln thus amounted to an exercise of the State’s police powers and so was

not a regulation of commerce. Id. (reasoning it was a regulation “not of commerce, but police” and

only operated “within the jurisdiction of New York” over people who were “found within” New

York). The statute related only to “prevent[ing]” the immigrants “from becoming chargeable as

paupers,” something that is “within the competency of the states.” Id. at 133.


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    Miln distinguished Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1 (1824), saying that the ship at issue in

Gibbons had “a coasting license from the United States” authorizing it to navigate the same waters the

State sought to regulate differently. Miln, 36 U.S. (11 Pet.) at 135.

    Miln fits into federal jurisprudence with Fox v. Ohio, where the Supreme Court held that Ohio

could punish counterfeiting money, even though the Constitution gives that authority to Congress,

because it was uniquely within the State’s police power and not in conflict with federal law. 46 U.S. (5

How.) 410, 434–435 (1847); U.S. Const. art. I, § 8, cl. 6. These cases establish that the States lack the

right to regulate commercial activity that is lawful under federal law, but they do have the right—under

their retained police powers—to regulate activity that is unlawful under federal law.

    That makes sense. The fundamental rule of federal-State relations is that States cannot interfere

with something authorized under federal law. See, e.g., Pharm. Rsch. & Mfs. of Am. v. McClain, 95 F.4th

1136, 1145 (8th Cir. 2024). But if something is illegal federally, there is no bar to the States using their

police power to, using the same standard, make it illegal under state law.

    The Foreign Commerce Clause therefore does not preclude States from enacting intra-territorial

laws that prevent their citizens from being overburdened by illegal immigration. SF2340 operates

exclusively intra-territorially and kicks in only if the conduct is also illegal federally. Miln shows that

statutes like SF2340 are within the State’s police power. SF2340 does not interfere with federal law in

any way because a violation of federal law is a necessary predicate for SF2340. Iowa is thus allowed to

enforce SF2340 to the extent that it does not conflict with federal immigration law.

    The United States never tries to explain why a law like SF2340 is distinct from the law at issue in

Miln. Instead, it simply says that the movement of persons between States and foreign countries is

commerce. U.S. brief at 19. But the United States forgets two key principles here.

    First, Gibbons involved a party whose business engaged in interstate transportation. 22 U.S. (9

Wheat.) at 239–240. So the Court held that involved interstate commerce. SF2340 involves nothing



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of the sort. Second, the United States assumes that SF2340 would affect foreign relations because it

regulates commerce with foreign nations. Dkt. 7-1 at 20–21. But SF2340 has nothing to do with

commerce with foreign nations. Nor would it even affect foreign relations because, by creating a state

analogue to a federal crime, SF2340 creates no new implications on foreign relations.

            2.      The United States relies on an overbroad Commerce Clause reading.

    The United States tries to stretch the Foreign Commerce Clause beyond its breaking point. There

are at least two flaws in that approach. First, the Dormant Commerce Clause comes into play only

when Congress has been dormant—it has not regulated in an area. See Nat’l Pork Producers Council v.

Ross, 598 U.S. 356, 368 (2023). So when Congress does regulate in an area, it necessarily displaces the

doctrine. See Maine v. Taylor, 477 U.S. 131, 139–140 (1986). And the premise of the United States’s

arguments here is that Congress has extensively regulated immigration. The United States cannot have

it both ways. It can argue either that Congress has regulated in an area, or that it has not. The United

States’s preemption arguments foreclose its theory here.

    Second, Plaintiff relies on cases involving taxation or State-created monopolies. Japan Line, Ltd. v.

Los Angeles County involved a county trying to tax ships based in Japan, and the Supreme Court said

(1) that the ship would be subject to double taxation (in Los Angeles and Japan) and (2) the tax would

create a patchwork of different international shipping taxes where there needed to be one national

approach. 441 U.S. 434, 436–437 (1979). But SF2340 does not involve taxation, nor does it create a

patchwork of immigration law. It does not even kick in until after both the United States has ordered

the alien to leave and the alien illegally reentered the country thereby violating federal law.

    In the end, the United States argues that SF2340 burdens foreign commerce by discriminating

against aliens who enter from abroad, but that requires an overbroad reading of SF2340. SF2340 does

not discriminate based on alienage. It discriminates based on aliens having been ordered to leave the

country and not reenter, and instead choosing to violate federal—and now Iowa—law.



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      E.      Iowa has a constitutional self-defense power when the federal government
              abdicates its own duties.

      Even if SF2340 implicates preemption or the Dormant Commerce Clause, it should survive

through Iowa’s constitutional self-defense power. U.S. Const. art. I, §10, cl. 3 (States may respond

when “actually invaded.”). “[T]he States did not part with that power of self-preservation which must

be inherent in every organized community.” Smith v. Turner, 48 U.S. (7 How.) 283, 400 (1849) (McLean,

J.); see also Robert G. Natelson & Andrew T. Hyman, The Constitution, Invasion, Immigration, and the War

Powers of States, 13 British J. Am. Leg. Studies 1 (2024). Lying at the crossroads of a trafficking enterprise

stoked by cartels exploiting the illegal immigration crisis, Iowa has the constitutional right to invoke

its self-defense power and use SF2340 to combat this invasion. Plaintiff does not establish there are

constitutional applications of SF2340. Furlow, 52 F.4th at 400.

II.        The Other Factors Weigh Against An Injunction.

      Plaintiff’s failure to show likelihood of success is fatal; the Court need not proceed further. See

Rounds, 530 F.3d at 732. But those factors also weigh against an injunction. Plaintiff fails to show why

an injunction is necessary to prevent harm, or why their harms outweigh harm to Iowa.

      Plaintiff does not face irreparable harm. If the United States believes Iowa is prosecuting someone

improperly, it can intervene in that proceeding. 28 U.S.C. § 517. Indeed, the United States does so all

the time. See, e.g., U.S. Dep’t of Veterans Affs. v. Boresi, 396 S.W.3d 356, 358 (Mo. 2013) (intervening in

state worker’s compensation proceedings); Oceanview Home for Adults, Inc. v. Zucker, 188 N.Y.S.3d 773,

779 (N.Y. App. Div. 2023) (statement of interest in state Fair Housing Act proceedings); West v. City

of Tacoma, 456 P.3d 894, 902 (Wash. App. 2020) (statement of interest regarding the disclosure of

federally protected records under state law). It is unclear why the United States believes it must receive

a pre-enforcement injunction to avoid irreparable harm.

      That is particularly true as SF2340 applies only after the United States has already determined the

alien to be illegal. Because Iowa follows the United States’s lead on the alien’s status, Iowa cannot


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harm the United States nor its foreign relations. Iowa steps in only after the United States says so.

    As to the balance of harms, the State faces irreparable harm from an injunction. Iowa is at the

crossroads of the human trafficking enterprise that is stoked by cartels exploiting the illegal

immigration crisis. Enforcing SF2340 to deter human trafficking and other byproducts of illegal

immigration is firmly within the public interest. And Iowa is burdened by tens of thousands of people

who have been ordered to leave but refuse to do so. Iowa must give public services to illegal aliens,

its public transportation system must accommodate them, and its police officers must respond to the

crimes they suffer or commit. Those harms are particularly poignant as SF2340 implicates Iowa’s core

sovereign right to use its police power to control who may and may not enter its territory. See Miln, 36

U.S. (11 Pet.) at 132; Juidice v. Vail, 430 U.S. 327, 335 (1977) (implying that “the State’s interest in the

enforcement of its criminal laws” is among the most important interests).

    An injunction is not in the public interest. “[A]ny time a State is enjoined by a court from

effectuating statutes . . . it suffers a form of irreparable injury.” New Motor Vehicle Bd. v. Orrin W. Fox

Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers); see Org. for Black Struggle v. Ashcroft, 978

F.3d 603, 609 (8th Cir. 2020) (“Every day that a State’s duly-enacted statutes are enjoined is an

irreparable harm.”). An injunction would “thwart [Iowa’s] presumptively reasonable democratic

process.” Rounds, 530 F.3d at 732–733. Indeed, statutes are supposed to be “presumed constitutional

and all doubts are resolved in favor of constitutionality.” Arkansas Times LP v. Waldrip as Tr. of Univ. of

Ark. Bd. of Trustees, 37 F.4th 1386, 1393 (8th Cir. 2022), cert. denied, 143 S. Ct. 774 (2023).

                                            CONCLUSION
    For these reasons, the Court should deny the preliminary and permanent injunction.




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                                                       Respectfully submitted,

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                                                                               PROOF OF SERVICE
                                                             The undersigned certifies that the foregoing instrument was served on
                                                       counsel for all parties of record by delivery in the following manner on May 31,
                                                       2024:

                                                                  U.S. Mail                    FAX
                                                                  Hand Delivery                Overnight Courier
                                                                  Federal Express              Other
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                                                            Signature: /s/Breanne A. Stoltze
